

Per Curiam.

Application is made here to vacate the order of this court dismissing an appeal for failure to prosecute. While counsel for the litigants are accorded powers of man*946agement of appeals in this court to the limited extent now provided in rule 500.6 (b) (22 NYCRR 500.6 [b]) (the so-called 20-day rule), the consent or acquiescence of opposing counsel will hot relieve a defaulting party from the strictures of the nine months’ requirement of rule 500.6 (a) (22 NYCRR 500.6 [a]). In this instance, the notice of appeal was dated May 23, 1968. The fact that counsel for respondent may now be willing to participate in argument of the appeal affords no ground for vacatur of the order of dismissal entered November 6,1974.
Accordingly the motion is denied.
Motion to vacate an order of dismissal of the Court of Appeals, dated November 6,1974, denied.
